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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                           CASE NO: 3:07-cr-248-J-32MCR

KEVIN PATRICK BOODY                          ORDER ON MOTION FOR
                                             SENTENCE REDUCTION UNDER
                                             18 U.S.C. § 3582(c)(1)(A)


                                     ORDER

       Upon motion of      the defendant     the Director of the Bureau of Prisons for

a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the

applicable factors provided in 18 U.S.C. § 3553(a) and the applicable policy

statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

     DENIED after complete review of the motion on the merits. 1

           FACTORS CONSIDERED

       Defendant Kevin Patrick Boody is a 54-year-old inmate incarcerated at

Petersburg Medium FCI, serving a 212-month term of imprisonment for the

interstate transportation of child pornography. (Doc. 31, Judgment). According to the

Bureau of Prisons (BOP), he is scheduled to be released from prison on October 22,

2023. Defendant seeks compassionate release because of the Covid-19 pandemic and

because he claims to suffer from obesity, prediabetes, asthma, chronic sinus



1     The Court assumes for the sake of discussion that Defendant has satisfied §
3582(c)(1)(A)’s exhaustion requirement.
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problems, and seasonal bronchitis. (Doc. 43, Motion for Compassionate Release). He

also claims that he has experienced a bad reaction to the flu vaccine, such that it

would be dangerous for him to receive the Covid-19 vaccine.

      A movant for compassionate release bears the burden of proving that a

reduction in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-

33SPF, 2019 WL 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the

burden of proving that a sentence reduction is appropriate). “Given the permissive

language [of § 3582(c)(1)(A)], a district court’s decision whether to grant or deny a

defendant’s request for a sentence reduction is discretionary.” United States v.

Winner, No. 20–11692, 2020 WL 7137068, at *2 (11th Cir. Dec. 7, 2020). As the Third

Circuit Court of Appeals has observed, the mere existence of Covid-19 cannot

independently justify compassionate release, “especially considering BOP's statutory

role, and its extensive and professional efforts to curtail the virus’s spread.” United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

      Defendant has not demonstrated extraordinary and compelling reasons

warranting compassionate release. 18 U.S.C. § 3582(c)(1)(A). According to the

Centers for Disease Control (CDC), certain underlying conditions might increase the

risk of severe infection from Covid-19 and other conditions are known to increase the

risk of serious illness. 2 Most of Defendant’s asserted conditions only fall into the




2     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
with-medical-conditions.html.


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former category (such as asthma) or neither category (such as prediabetes, seasonal

bronchitis, and chronic “sinus problems”). The only asserted condition Defendant has

that is known to increase the risk of severe illness is obesity. However, Defendant has

not offered proof confirming that he is, in fact, obese. Moreover, obesity is not an

extraordinary condition. According to the CDC, 42.4% of American adults suffered

from obesity as of 2017-2018. 3 Assuming federal prisoners experience obesity at

about the same rate as the general population, roughly half the federal prison

population would be eligible for compassionate release if it qualified as an

extraordinary and compelling circumstance. United States v. Hayes, No. 3:18-cr-37-

J-34JBT, 2020 WL 3611485, at *2 (M.D. Fla. July 2, 2020). As for Defendant’s claim

that it would be dangerous to receive the Covid-19 vaccine because he has experienced

an adverse reaction to the flu vaccine, that assertion is only speculative at this point.

Accordingly, the Court concludes that Defendant has not established extraordinary

and compelling reasons for compassionate release. 18 U.S.C. § 3582(c)(1)(A). 4

      In any event, the sentencing factors under 18 U.S.C. § 3553(a) do not support

a reduction in sentence. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. Defendant is

serving a 212-month sentence for the interstate transportation of child pornography.



3     https://www.cdc.gov/obesity/data/adult.html.
4     The Court recognizes that there is a split of authority over whether district
courts are bound by the list of extraordinary and compelling reasons contained in
U.S.S.G. § 1B1.13, cmt. 1(A)-(D). See, e.g., United State v. Ruffin, 978 F.3d 1000,
1006–08 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 234 (2d Cir. 2020).
The Court’s decision does not depend on the resolution of that issue because it would
reach the same conclusion if it had independent authority to identify extraordinary
and compelling reasons.


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He possessed over 200 videos and 9,000 images of child pornography, some of which

depicted the sadistic and masochistic sexual abuse of prepubescent children by adult

men. (Presentence Investigation Report [PSR] at ¶¶ 5-10, 16-21); (Doc. 21, Plea

Agreement at 12-16). Defendant further distributed some of these images over the

internet by emailing them to another person. (PSR at ¶¶ 6, 7, 18, 20). Compounding

matters, this was not Defendant’s first offense, either for a child sex offense or

otherwise. Prior to his conviction in this case, Defendant had been convicted of

assault, public indecency, theft by unauthorized taking or transfer, two counts of

aggravated trafficking or furnishing scheduled drugs, two counts of sexual abuse of a

minor, four counts of furnishing liquor to a minor or allowing a minor to consume

alcohol, and one count of failing to register as a sex offender. (PSR at ¶¶ 30-36).

Moreover, Defendant has a self-reported history of problems with mental health and

substance abuse (id. at ¶¶ 46-49), but it is unclear if he has a viable plan for obtaining

counseling and treatment upon his release. In view of all the § 3553(a) factors,

reducing Defendant’s term of imprisonment is not warranted at this time.

        Accordingly, Defendant Kevin Patrick Boody’s Motion for Compassionate

Release (Doc. 43) is DENIED.

        DONE AND ORDERED at Jacksonville, Florida this 14th day of January,

2021.




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Copies:
Counsel of record
Defendant




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